                     Case 1:14-cv-01996-BAH Document 163 Filed 08/08/18 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                        District
                                                  __________     of Columbia
                                                              District of __________


 Hulley Enterprises, Ltd., Yukos Universal Ltd., et al.           )
                             Plaintiff                            )
                                v.                                )      Case No.    14-cv-01996
                     Russian Federation                           )
                            Defendant                             )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Hulley Enterprises, Yukos Universal, and Veteran Petroleum                                                          .


Date:          08/08/2018
                                                                                            Attorney’s signature


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